Case 3:21-cv-00514-JR   Document 1-3   Filed 04/06/21   Page 1 of 4




               EXHIBIT C
Case 3:21-cv-00514-JR   Document 1-3           Filed 04/06/21          Page 2 of 4




                           WILLAMETTE
                            VALLEY CELLARS
                               2016 PINOT NOIR RESERVE




                                VINTAGE NOTES
                          The 2016 vintage was one of the best vintages on
                           record due to the ideal growing conditions and
                            weather. Bud break was two weeks early. This
                          vintage was drier and warmer than usual, resulting
                         in large, ripe clusters. Yields were almost double in
                          some cases, resulting in four to five tons per acre!
                          Harvest officially began in early September, nearly
                         three weeks earlier than previous vintages with low
                             bird effects and disease pressure. This Pinot
                           displays pronounced aromas, deep color, ripe
                                          developed flavors.
Case 3:21-cv-00514-JR             Document 1-3            Filed 04/06/21   Page 3 of 4




      HARVEST & WINEMAKING
            The vines are farmed nutritionally, which treats the
    microbiology in the vineyards section by section. Soil and stem
         samples are analyzed for nutritional value. It is the most
     specific grape farming imaginable. Our fruit is hand harvested
    in the early morning in small 14” buckets. It is then hand sorted
     and de-stemmed, deposited into one-ton bins for small-batch
     fermentations. After fermentation, the free-run juice is settled
          and putinto barrel. The must is placed in “The Girls,”
       specialized bladder presses for gentle pressing that do not
         exceed one atmosphere of pressure. The wine rests for
        11months in 30% new French oak barrels. We like Cadus
                      barrels for their warm tonality.




 WINE STATISTICS
          APPELLATION:
      100% Yamhill-Carlton AVA                 iStock-164773902(2)

           COMPOSITION:
           100% Pinot Noir


              AGEING:
       11 months in 30% NFO


             TA: 5.7 g/L
                                               iStock-108219745(2)
          ALCOHOL: 14.1%

              pH: 3.75
Case 3:21-cv-00514-JR                     Document 1-3                   Filed 04/06/21               Page 4 of 4




 THE WILLAMETTE VALLEY CELLARS STORY
       It’seasy to fall in love with Oregon’s Willamette Valley – a place where life’s simple
         pleasures are found in the region’s farms, vineyards and forests. The talent and
       creativity of the valley’s winemakers       is   unmistakable, and Willamette Valley Cellars
       collaborates with them to bring quality fruit, unmatched energy and a sense of soul
        into every bottle of wine we craft. The resulting wines are as breathtaking as the
                                          Willamette Valley’s vistas.

      Our vineyard   is   located on the Savannah Ridge,        in   the Yamhill-Carlton AVA. The soils
      are ancient marine sediment soils: Wellsdale, Peavine, Willakenzie & Melbourne. The
      elevation runs between 250’     –   400’. The clonal selection      is:   Wadenswil (17 acres) Dijon
        777 (12 acres) and Dijon 115      (5   acres) on Riparia Gloire, 101-14 & 3309 rootstocks.
